Case 18-12601-lrc   Doc 51   Filed 04/14/20 Entered 04/14/20 12:24:56   Desc Main
                             Document      Page 1 of 4
Case 18-12601-lrc   Doc 51   Filed 04/14/20 Entered 04/14/20 12:24:56   Desc Main
                             Document      Page 2 of 4
Case 18-12601-lrc   Doc 51   Filed 04/14/20 Entered 04/14/20 12:24:56   Desc Main
                             Document      Page 3 of 4
Case 18-12601-lrc     Doc 51     Filed 04/14/20 Entered 04/14/20 12:24:56             Desc Main
                                 Document      Page 4 of 4



                               CERTIFICATE OF SERVICE

         This is to certify that I have served the following parties in this matter with a copy
  of the within and foregoing by, unless otherwise noted, depositing a true and correct
  copy in the U.S. Mail with sufficient postage affixed thereto and properly addressed as
  follows:

  Melissa J. Davey, Esq.
  Standing Chapter 13 Trustee
  Via Electronic Notice

  Stacey L. Butler, Esq.
  Attorney for Debtor
  Via Electronic Notice

  Tonya Jacks Creel-Dawes
  187 Doc Perry Rd.
  Newnan, GA 30263
                 th
         This 14 day of April, 2020.

                                                        /s/ Marc E. Ripps
                                                        Marc E. Ripps
                                                        Georgia Bar No. 606515
  P. O. Box 923533
  Norcross, GA 30010-3533
  (770) 448-5377
  Email: meratl@aol.com
